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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                         Richmond Division

 ROY COCKRUM,etal.

                       Plaintiffs,

 V.                                                    Civil Action No. 3:18-CV-^84-HEH

 DONALD J. TRUMP FOR
 PRESIDENT,INC.,

                       Defendant.


                                 MEMORANDUM OPINION
            (Granting Defendant's Motion to Dismiss Amended Complaint)

                                     L     BACKGROUND


        Plaintiffs' in this case seek damages for injuries resulting from the unauthorized

 publication oftheir personal information on the internet. Plaintiffs allege that their

 information was illegally obtained by Russian intelligence operatives during the

 Russians' hack of computer servers belonging to the Democratic National Committee

("DNC" or the "Committee"). The Amended Complaint alleges that "[a]gents ofthe

 Trump Campaign, acting on behalf of the Campaign, met with—and were otherwise in

 contact with—^Russian officials or their agents on numerous occasions during the spring

and summer of2016." (Am. Compl. 15, ECF No. 8.) During this period, the Kremlin

alerted Donald J. Trump for President, Inc.(the "Campaign" or "Defendant")that it


'None ofthe Plaintiffs in this case held significant positions in Hillary Clinton's 2016
presidential campaign. Roy Cockrum and Eric Schoenberg were financial contributors to the
Democratic National Committee("DNC"). Scott Comer is a former mid-level staffer on the
DNC finance team.
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possessed stolen DNC emails and could publicize them in order to harm the DNC and

Mr. Trump's political opponent, Hillary Clinton, thereby helping the Campaign win the

2016 presidential election. {Id. H 2.) In return, the Campaign and the Russian regime

allegedly agreed that the Campaign would provide political benefits to Russia. {Id.)

Following this coordination of effort, and at the direction ofthe Campaign and Russian

agents,"the emails were then released by WikiLeaks, which joined the conspiracy as a

trusted Russian intermediary." {Id.)

       According to the Amended Complaint,"[i]n order to defeat Secretary Clinton and

help elect Mr. Trump, hackers working on behalf ofthe Russian government,"{id. ^ 86),

allegedly converted "voluminous amounts of data, including emails and other documents

sent to and from thousands of individuals. Some ofthose individuals were staff members

of the DNC;some were donors; and some were other supporters, members ofthe media,

or other private citizens." {Id. 110.) "On July 22, 2016, WikiLeaks posted thousands of

private emails on the Internet. These emails were made available to anybody in the world

with a web browser." {Id. H 43.) As a result ofthe publication of the Plaintiffs' personal

information, which allegedly included emails, social security numbers, dates of birth,

home addresses, phone numbers, and banking relationships, they allegedly sustained

significant personal and financial damage. {Id. f 44.) This lawsuit followed.

       Plaintiffs' Amended Complaint alleges three discrete causes of action. In Count I,

they allege a conspiracy to intimidate lawful voters from giving support or advocacy to

electors for president and to injure citizens in person or property on account ofsuch
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support or advocacy in violation of42 U.S.C. § 1985(3).^ {Id.          257-70.) Count II

seeks damages for public disclosure of private facts as to Mr. Cockrum in violation of

Tennessee law (civil conspiracy and aiding and abetting liability). {Id.         271-78.) The

third count is a claim of public disclosure of private facts as to Mr. Comer in violation of

Maryland law (civil conspiracy and aiding and abetting liability). {Id. fl 279-86.) Count

IV alleges public disclosure of private facts as to Mr. Schoenberg in violation of New

Jersey law (civil conspiracy and aiding and abetting liability). {Id.       287-94.) Count V

is a claim for intentional infliction of emotional distress as to Mr. Comer in violation of

Maryland law (civil conspiracy and aiding and abetting liability). {Id.         295-303.)

During oral argument, Plaintiffs moved to dismiss Count VI, which seeks damages for

civil conspiracy in violation of the common law. Counsel represented to the Court that it

wished to dismiss Count VI because the theory underlying this cause of action is

integrated into the preceding counts. Consequently, the Court will grant counsel's oral

motion, and Count VI will be dismissed.

       Presently before the Court is Defendant's Motion to Dismiss the Amended

Complaint filed pursuant to Federal Rule of Civil Procedure 12(b)(6)(the "Motion," ECF

No.22.) Both the Plaintiffs and the Campaign have filed extensive memoranda

supporting their respective positions on the pending Motion. The Court heard oral

argument on January 24,2019. The parties were then directed to file supplemental

memoranda addressing the choice oflaw governing Counts II, III, and IV. The parties

^ During oral argument. Plaintiffs characterized the Campaign's strategy as a conspiracy to
weaponize the hacked information in order to dissuade participation in or contributions to the
Clinton Campaign.
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have done so, and the matter is now ripe for this Court's review.

                           11.   STANDARD OF REVIEW

       The well-pleaded facts contained within the Amended Complaint both inform and

constrain this Court's review ofthe Campaign's Motion at this stage. The task at hand is

to determine the sufficiency ofthe Amended Complaint,"not resolve contests

surrounding the facts, the merits of a claim, or the applicability of defenses." Republican

Party ofN.C. v. Martin, 980 F.2d 943,952(4th Cir. 1992). In considering a motion to

dismiss, a plaintiffs well-pleaded allegations are taken as true and the complaint must be

viewed in the light most favorable to the plaintiff. T.G. Slater & Son, Inc. v. Donald P. &

Patricia A. Brennan LLC,385 F.3d 836, 842(4th Cir. 2004). At this stage ofthe

proceedings, the record is one dimensional, focusing solely on the adequacy ofthe

Amended Complaint.

       A Rule 12(b)(6) motion to dismiss "should not be granted unless it appears certain

that the plaintiff can prove no set of facts which would support its claim and would entitle

it to relief." Mylan Labs., Inc. v. Matkari, 1 F.3d 1130, 1134(4th Cir. 1993). The Court,

however,"need not accept the legal conclusions drawn from the facts, and [it] need not

accept as true unwarranted inferences, unreasonable conclusions or arguments." Nemet

Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591 F.3d 250,253(4th Cir. 2009)(quoting
Giarratano v. Johnson, 521 F.3d 298, 302(4th Cir. 2008)).

       To survive Rule 12(b)(6) scrutiny, a plaintiff must provide more than merely

"labels and conclusions," or a "formulaic recitation ofthe elements of a cause of

action...." BellAtl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Instead, a plaintiff
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 must allege facts sufficient "to raise a right to relief above the speculative level," by

stating a claim, that is "plausible on its face" rather than merely "conceivable." Id. at

555, 570,586 (internal citations omitted). "A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference that

the defendant is liable for the misconduct alleged." Ashcroft v. Iqbal, 556 U.S. 662,678

(2009)(citing Twombly, 550 U.S. at 556).

                                    III.   ANALYSIS

        As a threshold challenge, the Campaign argues that its alleged publication ofthe

information hacked by Russian operatives, and acquired fi-om WikiLeaks, was First

Amendment protected because the Campaign did not participate in its actual acquisition

and the information, at least in part, involved information of public concern.^ The Court

will address this argument first because it effects the viability of all ofPlaintiffs' claims.

The Court will then turn to the Campaign's individual arguments with respect to

Counts I-V.


    A. Applicability of the First Amendment to Plaintiffs' Claims

       The Campaign's First Amendment argument relies heavily on Bartnicki v. Vopper,

532 U.S. 514(2001). In Bartnicki, an unlawfully-intercepted cellphone conversation was

turned over to the media who then broadcasted the tape. /c/. at 518-19. The Court in

Bartnicki premised its analysis on the well-settled principle that when "a newspaper


^ Counsel for Plaintiffs noted during oral argument that approximately 22,000 ofthese emails
involved personal information ofDNC operatives. According to the Amended Complaint,
WikiLeaks's website specifically described these emails as being part of its release.
(Am. Compl.^ 43.)
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 lawfully obtains truthful information about a matter of public significance [] state

 officials may not constitutionally punish publication ofthe information, absent a need ...

 ofthe highest order." Id. at 527(second alteration in original)(quoting Smith v. Daily
 Mail PubVg Co., 443 U.S. 97, 103 (1979)); see also Florida Star v.                 491 U.S. 524,

533(1989)(quoting same). The Supreme Court in Bartnicki also drew guidance from

New York Times Co. v. United States, 403 U.S. 713(1971)(per curiam), where the Court

upheld the right ofthe press to publish information of great public concern obtained from

documents stolen by a third party. Bartnicki, 532 U.S. at 528.

        Bartnicki is distinguishable from the immediate case in several respects. Here,

unlike Bartnicki, the Campaign is alleged to have conspired with the Kremlin and

WikiLeaks prior to the information being released and for its own benefit. The Amended

Complaint alleges that

         In June 2016, six weeks after learning that the Russians had "dirt" that they
        were willing to use to benefit the Campaign, senior Trump Campaign
        officials met with an agent ofthe Russian regime        According to email
        correspondence regarding the meeting that Donald Trump Jr. made public
        on his Twitter account, rather than avoiding coordination with a foreign
        government that was attempting to interfere in a U.S. election, Mr. Trump
        Jr. responded over the email:"If it's what you say I love it especially later
       in the summer."

(Am. Compl.115.) Furthermore, the information at issue in Bartnicki pertained to a
contemplated act of violence^ clearly a matter ofpublic concern. 532 U.S. at 519, 525,
540.




^ In Bartnicki, a union official, who was frustrated with the progress of collective bargaining
negotiations, stated during an intercepted telephone call that, ifthe school board remained
intransigent, they may have "[t]o blow off their front porches     " 532 U.S. at 519.
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        At this stage ofthe proceedings, the Court's analysis of the Defendant's 12(b)(6)

Motion is limited to the four comers ofthe Amended Complaint. E. I. du Font de

Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435,449(4th Cir. 2011). The Amended

Complaint discloses in considerable detail the alleged interactions between the Campaign

and Russian operatives to arrange for the publication ofthe stolen information. The

Amended Complaint provides specific dates and identifies participants in conversations

and meetings conceming publication ofthe stolen DNC emails. For example,Paragraph

113 ofthe Amended Complaint reads,

        [a]ll told, during the four months and eight days between March 14, 2016,
        when Mr. Papadopoulos first made contact with a Russian agent, and July
        22, 2016, when the stolen DNC emails were released on WikiLeaks, agents
        and associates ofthe Trump Campaign had at least 41 separate contacts
        with Russian agents.

(Am. Compl.^ 113.) Collectively, the detailed descriptions of conversations and

meetings between representatives of the Campaign and Russian operatives is more than

ample at this point to provide a plausible factual basis for Plaintiffs' allegation that the

Campaign was aware that the stolen information had been unlawfully obtained.^

        The second facet ofthe Campaign's First Amendment challenge is its contention

that the disclosed information dealt with matters of public concern. This is a closer

question, particularly since the information was at least in part related to a political

campaign and a candidate's supporters. The Campaign maintains that the disclosure may

have contained some peripheral private information conceming the individual Plaintiffs,


^ At this stage ofthe proceedings, the truthfulness ofPlaintiffs' allegations is not at issue, but
rather their sufficiency, if proven.
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but it was overshadowed by information concerning the Clinton Campaign and the DNC,

including the Committee's hostility towards Senator Bemie Sanders and Hispanic voters.

{Id. T 188.) The Amended Complaint, however, alleges that approximately 22,000 ofthe

emails contained personal information. {Id. HH 43^4.)

       The Supreme Court staked out the boundaries of speech of public concem in

Snyder v. Phelps, 562 U.S. 443 (2011). "Speech deals with matters of public concem

when it can 'be fairly considered as relating to any matter of political, social, or other

concem to the community,' or when it 'is a subject of legitimate news interest....'" Id.

at 453 (first quoting Connickv. Myers,461 U.S. 138, 146(1983); then quoting San Diego

V. Roe, 543 U.S. 77, 83-84(2004)(per curiam)). The Campaign urges the Court to focus

on the "'content, form, and context' of the speech ... in the aggregate, not line by line."

(Def.'s Br. Supp. Mot. Dismiss 6(quoting Snyder, 562 U.S. at 453), ECF No. 23.) The

Campaign also draws the Court's attention to Florida Star, wherein the Campaign argues

the Supreme Court adopted a holistic approach in evaluating publications. The

Campaign maintains that

       Every disclosed email was(1)a work email(2)sent or received by a
       political operative(3)during a presidential campaign. Every disclosed
       email thus inherently addressed politics, elections, and campaigns—all
       paradigmatic issues.... They revealed the Democratic Party's conduct
       during its presidential primaries—^which are public processes 'structur[ed]
       and monitor[ed]' by the state. Cal Democratic Party v. Jones, 530 U.S.
       567, 572(2000).

(Def.'s Br. Supp. Mot. Dismiss 8.) At this phase ofthe case, the content of these 22,000

emails is not before the Court.

       Plaintiffs rejoin that the Campaign's categorization of speech of public concem

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casts too wide a net. (Pis.' Mem. Opp'n Mot. Dismiss 8, ECF No. 30.) They maintain

that the First Amendment does not protect large amounts of private information with

some isolated facts of public concern. {Id.) Even ifsome ofthe emails were arguably

newsworthy. Plaintiffs contend that thousands were not. {Id. at 6.) Plaintiffs distinguish

the cases relied upon by the Campaign to support its argument that an entire disclosure is

constitutionally protected if even part relates to matters of public importance. {Id. at 6-

7.) In contrast to the claims presently before the Court, Plaintiffs note that none ofthe

cases relied upon by the Campaign—Snyder,Bartnicki, or Florida Star—involved

disclosure without any effort to remove sensitive, private information or intentional

disclosures ofprivate information for the purposes ofintimidation.^ {Id. at 7.) Plaintiffs

argue that "to properly balance freedom ofthe press against the right of privacy, every

privatefact disclosed in an otherwise truthful, newsworthy publication, must have some

substantial relevance to a matter oflegitimate public concern." {Id. (quoting Gilbert v.

Med. Econ. Co.,665 F.2d 305, 308(10th Cir. 1981); id. at 7 n.4 (citing Tojfoloni v. LFB

Publ'gGrp., LLC,572 F.3d 1201, 1211 (11th 2009)).

       In drawing the boundaries between privacy and public concern, the Eleventh

Circuit in Tojfoloni drew heavily from the Restatement(Second)of Torts § 652D. "The

Restatement recognizes that, although an individual may be rendered subject to public

scrutiny by some newsworthy event,'[t]he extent ofthe authority to make public private

facts is not... unlimited.'" Tojfoloni, 572 F.3d at 1211 (quoting Restatement(Second)

^ During oral argument, counsel for the Campaign stressed that it was unaware that the emails
published by WikiLeaks included Plaintiffs' personal information. In its view, it was
WikiLeaks's obligation to purge personal emails.
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of Torts § 652D cmt. h.).

        The difficulty confronted by the Court at this juncture is the scant record at hand.

The Amended Complaint exhaustively details the personal information concerning the

Plaintiffs that was allegedly disclosed and the injuries they sustained. Aside from a

generalized description ofthe information pertaining to the DNC,its contributors, and the

Clinton Campaign,there is very little detail concerning the specific nature ofthe

information or its significance to the political campaign. This Court is aware that a

determination of whether a communication is a matter of public concern is an issue of

law to be determined based on its content, political impact, and interest to the

community. Snyder v. Phelps, 580 F.3d 206, 220(4th Cir. 2009). Equally important is

the abiding principle that Plaintiffs' well-pleaded allegations are taken as true and the

complaint must be viewed in the light most favorable to the plaintiff at this stage."^

Without more specific detail as to the import ofthe emails of public concern, versus the

volume of private and arguably embarrassing personal information, this Court is unable

to determine, with any degree of certainty, whether Plaintiffs' otherwise plausible factual

claims are well founded.® Relying solely on the allegations contained in the Amended


^ The Court is also mindful ofthe contextual framework in this case—a conspiracy to publish
private information to dissuade political participation. Conspiracy jurisprudence, which is
infrequently encountered in the civil context, makes co-conspirators liable for the tortious acts of
their confederates under familiar principles of agency. However,the tortious acts for which they
are being held accountable must be reasonably foreseeable and in furtherance ofthe conspiracy.
See United States v. Aramonyy 88 F.3d 1369, 1379(4th Cir. 1996); Nye & Nissan v. United
States, 336 U.S. 613,618(1949).

® A number ofemails and documents were attached to the Amended Complaint and may be
considered by the Court if their authenticity is not disputed. See Blankenship v. Manchin,471
F.3d 523,526 n.l (4th Cir. 2006). However,the sample is insufficient for reliable quantitation
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Complaint, as it must at this juncture, the Court finds that the Campaign's release ofthe

hacked emails from the DNC do not warrant First Amendment protection.

    B. Plaintiffs' Claim Under 42 U.S.C.§ 1985(3)(Count I)

       Turning to the core claims ofthe Amended Complaint, Count I seeks damages for

"Conspiracy to Intimidate Lawful Voters from Giving Support or Advocacy to Electors

for President and to Injure Citizens in Person or Property on Account of Such Support or

Advocacy in Violation of42 U.S.C.[§] 1985(3)." (Am. Compl. 65.) Plaintiffs theorize

that § 1985(3)'s "support or advocacy clauses," create an independent, substantive cause

of action that does not require a litigant to plead the violation of a substantive

constitutional right. However, for the reasons that follow. Plaintiffs' reasoning is

contrary to the Supreme Court's historical interpretation of§ 1985(3). Therefore, the

Court's analysis will begin with some historical context before turning to the merits of

Count I.


       1. The Supreme Court's Interpretation of42 U.S.C.§ 1985(3)

       Subsection 1985(3) prohibits civil conspiracies that interfere with '"equal

protection ofthe laws' and 'equal protection of privileges and immunities under the laws'

...[and]the right to support candidates in federal elections." Kush v. Rutledge, 460 U.S.

719, 724(1983). The statute was enacted during the Reconstruction Era under § 2 ofthe

Civil Rights Act of 1871—the so-called Ku Klux Klan Act. See Id.\ see also United Bhd.

ofCarpenters, Local 610 v. Scott, 463 U.S. 825, 839(1983)(Blackmun, J., dissenting)


by subject matter. According to the Amended Complaint,"tens ofthousands ofemails and
attachments were dumped on the Intemet." (Am. Compl.126.)
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("The Ku Klux Klan Act was the Reconstruction Congress' response to politically

motivated mob violence in the postbellum South.") When Congress enacted § 1985(3),

its purpose was to combat the Klan's efforts "to resist and to frustrate the intended affects

ofthe Thirteenth, Fourteenth, and Fifteenth Amendments." Carpenters,463 U.S. at 837.

        The full text of§ 1985(3) states as follows^:

        Iftwo or more persons in any State or Territory conspire or go in disguise
        on the highway or on the premises of another, for the purpose of depriving,
        either directly or indirectly, any person or class of persons ofthe equal
        protection ofthe laws, or of equalprivileges and immunities under the
        laws', or for the purpose of preventing or hindering the constituted
        authorities of any State or Territory from giving or securing to all persons
        within such State or Territory the equalprotection ofthe laws',

       [0]r iftwo or more persons conspire to prevent by force, intimidation, or
       threat, any citizen who is lawfully entitled to \otQ,from giving his support
       or advocacy in a legal manner,toward or in favor ofthe election of any
       lawfully qualified person as an elector for President or Vice President, or as
       a Member of Congress ofthe United States; or to injure any citizen in
       person or property on account ofsuch support or advocacy^^;

^The text of §1985(3)in the official Code appears as a single, unbroken provision. The Court
has inserted breaks in § 1985(3)'s text to better visualize its three main components.
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   The first two clauses of§ 1985(3)address civil conspiracies that deprive persons of"the equal
protection ofthe laws, or ofequal privileges and immunities under the laws "(hereinafter as
the "equal protection clauses"). Id. In Griffin v. Breckinridge, the Supreme Court held that a
civil conspiracy must be motivated by a "class-based, invidiously discriminatory animus," to
violate this portion of§ 1985(3). 403 U.S. 88, 102(1971).
        The third and fourth clauses (hereinafter as the "support or advocacy clauses") pertain to
conspiracies that prevent a person from giving "support or advocacy" to a candidate for federal
office, or injure a person as a result thereof. The Supreme Court found in Kush v. Rutledge, that
the "class-based, invidiously discriminatory animus," requirement did not apply to portions of
§ 1985(3), such as the support or advocacy clauses, that did not contain the statute's equal
protection language. See 460 U.S. at 726("Th[is] legislative background [from Griffim] does not
apply to the portions ofthe statute that prohibit interference with...federal elections."). The
final clause ofthe statute provides the remedy for any violation of42 U.S.C. § 1985(3).
        Despite these distinctions, and critical to the outcome of Count I, the Supreme Court has
consistently interpreted § 1985(3)in its entirety as being purely remedial in nature, meaning that
§ 1985(3)does not provide any substantive ri^ts, and the rights it vindicates must be found
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       [I]n any case of conspiracy set forth in this section, if one or more persons
       engaged therein do, or cause to be done, any act in furtherance ofthe object
       ofsuch conspiracy, whereby another is injured in his person or property, or
       deprived of having and exercising any right or privilege of a citizen ofthe
       United States, the party so injured or deprived may have an action for the
       recovery of damages occasioned by such injury or deprivation, against any
       one or more ofthe conspirators.

42 U.S.C. § 1985(3)(2012)(emphasis and separation added).

        Subsection 1985(3) was enacted pursuant to Congress's power to enforce the

Thirteenth, Fourteenth, and Fifteenth Amendments. Carpenters, 463 U.S. at 837. As a

result, the Supreme Court has consistently reiterated the subsection's remedial purpose.

See id. at 833("The rights, privileges, and immunities that § 1985(3) vindicates must be

found elsewhere ...."); see also Great Am. Fed. Sav. & Loan Ass'n v. Novotny,442 U.S.

366, 372(1979)"("Section 1985(3) provides no substantive rights itself; it merely

provides a remedy for violation ofthe rights it designates."). Therefore, a claim brought

under § 1985(3) must be tied to the violation of a substantive constitutional right.

        Generally, because a§ 1985(3) claim protects a substantive constitutional right, a

litigant's § 1985(3)claim is often constrained by the need to plead state action. For

example, if an alleged conspiracy violates a constitutional right that by definition is only

applicable against the federal government(or the states through the Due Process Clause,

elsewhere. See, e.g.. Carpenters, 463 U.S. at 833; Great Am. Fed. Sav. & Loan Ass'n v.
Novotny,442 U.S. 366, 372(1979).

"In Novotny, a plaintiff argued that Title VII ofthe Civil Rights Act of 1964,42 U.S.C. § 2000e,
et seq., provided the necessary right for him to bring a claim under § 1985(3). 442 U.S. at 370.
The Supreme Court concluded that a statutory right created after § 1985(3) was enacted, like Title
VII, could not serve as the basis for a § 1985(3)claim. Id. at 377-78. In his concurring opinion.
Justice Powell affirmed the majority's reasoning and stated that § 1985(3)claims were solely
limited to rights derived from the Constitution. Id. at 379(Powell, J., concurring).
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see McDonald v. City ofChicago, 561 U.S. 742, 763(2010)), then the litigant must allege

that "the state is involved in the conspiracy or that the aim ofthe conspiracy is to

influence the activity ofthe state." Carpenters,463 U.S. at 830.

        The Supreme Court's decision in Carpenters v. Scott is an illustrative example of a

§ 1985(3) claim that was deficient, in part, due to a failure to plead state action.'^ Id. at

830. The question in Carpenters was whether plaintiffs could bring a lawsuit for

damages under the equal protection clauses of§ 1985(3). Id. There, non-union plaintiffs

claimed they were targeted, attacked, and injured by a labor union conspiracy. Id. at 828.

Both the district court and the Fifth Circuit (sitting en banc)concluded that plaintiffs'

§ 1985(3) claim was viable because the labor union violated plaintiffs' First Amendment

right to freely associate. Id. at 830. On appeal, however, the Supreme Court reversed,

/(c/. at 839. The Supreme Court reasoned that the First Amendment was inapplicable

because defendants were private citizens, not government actors, and therefore, there was

no state action that triggered the First Amendment's protection. Id. at 830. Because no

other substantive right supported plaintiffs' claim, the Court concluded that "an alleged

conspiracy to infringe First Amendment rights is not a violation of§ 1985(3) unless it is

proved that the state is involved in the conspiracy or that the aim ofthe conspiracy is to

influence the activity ofthe state." Id. at 830-31.

       Similarly, in Bellamy v. Mason's Stores, Inc., the Fourth Circuit affirmed the

dismissal of a § 1985(3)claim due to an absence of state action. 508 F.2d 504, 506(4th

  While the claim in Carpenters was brought under the equal protection clauses of§ 1985(3),
the case is nevertheless analogous to the claim at hand because the substantive right at issue was
construed as a violation ofthe First Amendment.

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Cir. 1974). There, the plaintiff was a Klu Klux Klan member whose employment was

terminated based on his Klan affiliation. Id. at 505. In dismissing the plaintiffs civil

conspiracy claim, the Fourth Circuit stated:

         [T]he language of equal protection ... cannot be interpreted to mean that
         persons who conspire without involvement ofgovernment to deny another
         person the right offree association are liable under[§ 1985(3)]    [T]he
         right of association derives from the first amendment—itselfjframed as a
         prohibition against the federal government and not against private persons.

Id. at 506-07(emphasis added). In addition to this formidable authority, the Eighth

Circuit reached a similar conclusion in a § 1985(3)case that was brought under the

support or advocacy clauses of § 1985(3). See Federer v. Gephardt, 363 F.3d 754,760

(8th Cir. 2004)("Because [plaintiffs] complaint is based upon a First Amendment claim,

and no state or federal government action is properly alleged,[plaintiffs] claim based on

the support and advocacy provision of§ 1985(3) was properly dismissed.").

         In summary,the Supreme Court has interpreted § 1985(3)as being remedial in

nature, and therefore, any viable claim must allege the violation of a preexisting

constitutional right. Where the right is contingent on state action, a litigant must plead

state action as part of his claim. Accordingly, a court's assessment of any § 1985(3)

claim begins with the threshold question: what is the constitutional right at issue? This

Court's analysis of Count I therefore begins by determining the right Plaintiffs seek to

vindicate, and then focuses on whether Plaintiffs pleaded sufficient facts to support their
claim.




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       2. Plaintiffs' § 1985(3) Claim Fails in the Absence of State Action

       In Count I, Plaintiffs contend they have alleged a viable claim under § 1985(3)'s

support or advocacy clauses. (Pis.' Mem. Opp'n Mot. Dismiss 23.) The Amended

Complaint states,"one or more conspirators caused to be published on the Intemet

hacked DNC emails containing private facts about Plaintiffs ... including Plaintiffs',

lawful support and advocacy for a candidate for President." (Am. Compl. 263

(emphasis added).) Plaintiffs further allege that "[a]s a natural and foreseeable result of

the conspiracy. Plaintiffs, among other persons, were injured in their persons and

property." {Id. 268.)

       The Campaign, on the other hand, argues that Plaintiffs claim under § 1985(3)

must be dismissed because (i)the alleged conspiracy did not involve physical violence, or

the threat thereof;(ii) the alleged conspiracy does not allege state action', (iii) Plaintiffs

were not the intended target ofthe alleged conspiracy; and (iv) because Plaintiffs

improperly attempt to hold the Campaign liable under a theory of respondeat superior.

(Def.'s Br. Supp. Mot. Dismiss 17-24.) The Court agrees with the Campaign that

Plaintiffs' claim under Count I must be dismissed based on the absence of state action—a

necessary component ofPlaintiffs' § 1985(3) claim. Furthermore, because this factor is

by itself dispositive of Count 1, the Court need not address the Campaign's alternative

arguments.

       Plaintiffs and the Campaign agree that the equal protection clauses of§ 1985(3)
are vehicles for asserting rights that are established elsewhere. (Pis.' Mem. Opp'n Mot.



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Dismiss 27; Def.'s Br. Supp. Mot. Dismiss 21.) However,the parties disagree as to

whether the same constraint applies to the statute's support or advocacy section.

       Reading the statute as a whole, the Campaign argues that § 1985(3) is purely

remedial, and therefore, a litigant must allege the violation of a substantive constitutional

right. The Campaign states, "Section 1985(3)is thus designed to enforce preexisting

constitutional rights against state action, not to create new rights against private action.

Indeed, the enforcement clauses empower Congress only to enact 'remedial' laws

enforcing preexisting rights; they do not empower it to enact 'substantive' laws

expanding those rights." (Def.'s Br. Supp. Mot. Dismiss 21-22(emphasis omitted)

(citation omitted).) Therefore, the Campaign argues Plaintiffs must allege a substantive

right for Count I to proceed. Furthermore, because Plaintiffs' claim seeks to vindicate

First Amendment rights, they must also allege state action. (See id.)

       Plaintiffs counter, however, that § 1985(3)'s support or advocacy clauses create

their own substantive right. The Response to Defendant's Motion states:

      [T]he support-or-advocacy clauses are not exercises of Congress's power to
      enforce the Reconstruction Amendments. Instead, they exercise Congress's
      power to protect the integrity of federal elections. That is why "the
      'support and advocacy' clause of Section 1985(3)... unlike the equal
      protection part of Section 1985(3) does not require ... violation of a
       separate substantive right."

(Pis.' Mem. Opp'n Mot. Dismiss 27)(internal citations omitted)(quoting League of

United Latin Am. Citizens—Richmond Region Council 4614 v. Pub. Interest Legal Found.,

No. l:18-CV-00423, 2018 WL 3848404, at *6(E.D. Va. Aug. 13, 2018)[hereinafter as

"LULAC"]. Plaintiffs rely on Exparte Yarbrough(The Ku-Klux Cases), 110 U.S. 651


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(1884), to argue that the support or advocacy clauses of§ 1985(3) were enacted pursuant

to Congress's power to protect federal elections, not the Reconstruction Amendments.

(Pis.' Mem. Opp'n Mot. Dismiss 27.) As a result, Plaintiffs maintain that pleading a

substantive constitutional right is not required under Count I. {Id.)

       The Court finds, however,that Plaintiffs' reasoning is flawed because it diverges

significantly from the Supreme Court's interpretation of§ 1985(3), specifically by

asserting that § 1985(3) creates its own substantive right to "support or advocate" for a

political candidate. Contrary to Plaintiffs' interpretation of Yarbrough,the Supreme

Court's holding in that case was based in part on Congress's Article I, Section 4 powers'^

and the Fifteenth Amendment's substantive right to vote. See Yarbrough, 110 U.S. at

665.("[T]his fifteenth article of amendment dots,proprio vigore, substantially confer...

the right to vote, and congress has the power to protect and enforce that right.''(second

emphasis added)). This effectively undercuts Plaintiffs' position that the support or

advocacy clauses create a stand-alone substantive right of action, and undermines then-

contention that they are not required to allege the violation of a substantive constitutional

right, such as the right to vote to plead a viable claim. See United States v. Classic, 313

U.S. 299, 314(1941)("The right ofthe people to [vote], whatever its appropriate

constitutional limitations ... is a right established and guaranteed by the

Constitution ....").


  "This section declares that 'the times, places, and manner of holding elections for senators and
representatives shall be prescribed in each state by the legislature thereof; but the congress may
at any time make or alter such regulations, except as to the place of choosing senators.'"
Yarbrough, 110 U.S. at 660(quoting U.S. Const, art. I, § 4, cl. 1).


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        Plaintiffs' interpretation of§ 1985(3) also faces a formidable arsenal of

countervailing Supreme Court authority that Plaintiffs cannot overcome. Plaintiffs cite

no Supreme Court or federal appellate authority that supports their interpretation of

§ 1985(3).^'^ In addition, and consistent with the Campaign's arguments, the Supreme

Court has stated explicitly that "[§] 1985(3) provides no substantive rights itself; it

merely provides a remedy for violation ofthe rights it designates." Novotny,442 U.S. at

372; see also Carpenters,463 U.S. at 833("The rights, privileges, and immunities that §

1985(3) vindicates must be found elsewhere ...."). This Court recognizes that the

claims in Novotny and Carpenters were brought under § 1985(3)'s equal protection

clauses; however, in rendering those decisions the Supreme Court interpreted § 1985(3)

as a whole when describing the statute's remedial nature. Certainly, the Supreme Court

could have distinguished its interpretation of specific clauses within the statute, but it

elected not to do so. Furthermore, the fact that the Supreme Court has interpreted some

aspects of§ 1985(3)'s clauses differently, see supra footnotes 10-11, bolsters the

conclusion that the Court chose not to do so elsewhere—^namely with respect to the

statute's remedial nature by requiring the vindication of substantive constitutional rights.




   Plaintiffs contend their interpretation of§ 1985(3)is supported by a recent district court
opinion from our sister division in Alexandria, Virginia. See LULAC, 2018 WL 3848404, at *6
(stating "a claim under the 'support and advocacy' clause of Section 1985(3), which unlike the
equal protection part of Section 1985(3)does not require allegations of a race or class-based,
invidiously discriminatory animus or violation of a separate substantive right."). The Court
notes that these cases are factually distinct. While Plaintiffs' allegations in this case most closely
align with a violation ofthe First Amendment,the violation of which requires state action, the
right at issue in LULAC was the right to vote, which is not contingent upon state action.

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Accordingly, this Court will follow the Supreme Court's historically consistent

interpretation, as it must, and conclude that § 1985(3)is purely remedial.

        Therefore, in order to plead a viable claim under Count I, Plaintiffs must allege the

violation of a substantive constitutional right coupled with state action. Plaintiffs fail to

do so. As noted, the first step in evaluating a § 1985(3) claim is determining the

constitutional right that a litigant seeks to vindicate. Contrary to Plaintiffs' reasoning, the

U.S. Constitution does not specifically protect a person's "support and advocacy ...[for]

a candidate for President." (Am. Compl. H 267.) However,the First Amendment does

protect the freedom ofspeech and the freedom to peacefully assemble from government

intrusion. U.S. Const, amend. I. Based on the rights they seek to protect. Plaintiffs'

claim will therefore be construed as alleging violations ofthe First Amendment. See

Carpenters, 463 U.S. at 829-30(construing the plaintiffs' claims under the First

Amendment where a civil conspiracy violated the right of non-union persons to freely

and non-violently associate with other non-union employees); see also Gill v. Farm

Bureau Life Ins. Co. ofMo.,906 F.2d 1265, 1271 (8th Cir. 1990)(dismissing plaintiffs

§ 1985(3)claim because "[tjhere is no recognized constitutional right to be a [political]

fund-raiser, free from governmental regulation or private pressure.").'^




   The Court distinguishes the right to vote from Plaintiffs' claims, which in effect, allege their
right to give "support or advocacy" to their preferred candidate was fhistrated. Significantly,
Plaintiffs do not allege that the Campaign prevented them from voting. See Gill, 906 F.2d at
1270("The independent constitutional right relating to federal elections as part ofthe basic
institutions and processes ofthe national government is limited, under existing case law,to the
right to vote—^to cast a ballot and have it honestly counted.")(citing Classic, 313 U.S. at 315;
United States v. Mosley, 238 U.S. 383, 386(1915)).

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       So viewed, Plaintiffs fail to plead sufficient facts to support their § 1985(3) claim

because the First Amendment requires state action. See Carpenters, 463 U.S. at 830-31.

Plaintiffs plainly acknowledge in the Amended Complaint that the Campaign is a private

entity. The Amended Complaint states,"Defendant is Donald J. Trump for President,

Inc.(the "Trump Campaign"), a Virginia corporation formed for the purpose of electing

Donald Trump to the presidency." (Am. Compl. H 9(emphasis added).) Taking this fact

to its logical conclusion, the Campaign is incapable of state action because it is a private

entity. The Court therefore agrees with the Campaign's assertion that Plaintiffs' failure

to plead state action is fatal to Count I, and that Count will be dismissed with prejudice.

   C. Plaintiffs' State-Law Claims(Counts II-V)

       In addition to their § 1985(3) claim. Plaintiffs allege four state-law tort claims.

For each claim. Plaintiffs allege that the Campaign conspired to commit the underlying

tort, or in the alternative aided and abetted its commission. Three ofthese claims allege

the tort of public disclosure of private facts for each respective Plaintiff. (Am. Compl.

60-71.) In the final claim. Plaintiff Comer alleges intentional infliction of emotional

distress. (7^/.   71-72.)

        1. Public Disclosure of Private Facts(Counts II-IV)

        Counts II-IV ofthe Amended Complaint allege individual claims of public

disclosure of private facts against the Campaign. {Id.     60-71.) The Campaign seeks

dismissal ofthese claims arguing that Virginia's choice-of-law rules do not result in the

application of Maryland, New Jersey, or Tennessee law, as asserted by Plaintiffs. (Def.'s

Br. Supp. Mot. Dismiss 11-14.) Instead, the Campaign contends that the substantive law

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ofNew York applies, and if not New York,then Virginia's substantive law. {Id.) The

Campaign maintains that, unlike the states proffered by Plaintiffs, neither New York nor

Virginia recognize a common-law cause of action for public disclosure of private facts.

(Def.'s Suppl. Resp. Br. 1, EOF No. 89.) Thus, as a threshold matter, the Court must

determine which state's substantive law applies to each claim. Given its critical nature,

the parties submitted supplemental briefing on this issue.

       A federal district court exercising diversity jurisdiction applies the choice-of-law

rules ofthe forum state. Klaxon Co. v. Stentor Elec. Mfg. Co.., 313 U.S. 487,496-97

(1941). Where state law is unclear, a district court must predict how the state's highest

court would decide the issue. Wells v. Liddy, 186 F.3d 505, 527-28(4th Cir. 1999)

{ciimg Liberty Mut. Ins. Co. v. Triangle Indus., 957 F.2d 1153, 1156(4th Cir. 1992);

Brendle v. General Tire & Rubber Co. 505 F.2d 243, 245 (4th Cir. 1974)). "Virginia

applies the lex loci delicti, the law ofthe place ofthe wrong, to tort actions ...." Milton

V. IITResearch Inst., 138 F.3d 519, 521 (4th Cir. 1998); McMillan v. McMillan, 253

S.E.2d 662,663(Va. 1979)(affirming lex loci delicti as the settled rule in Virginia and

declining to adopt the balancing test set forth in the Restatement(Second)of Conflict of

Laws). According to lex loci delicti {'Hex locC), a court applies "the law ofthe state in

which the wrongful act took place, wherever the effects ofthat act are felt." Milton, 138

F.3d at 522. Stated another way,the place ofthe wrong is "where 'the last event

necessary to make an act liable for an alleged tort takes place.'" Quillen v. Int'l Playtex,

Inc., 789 F.2d 1041, 1044(4th Cir. 1986)(quoting Miller v. Holiday Inns, Inc., 436

F. Supp. 460,462(E.D. Va. 1977)). The Supreme Court of Virginia has not applied lex

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loci to a common-law claim of public disclosure of private facts, thus this Court must

predict how it would apply the doctrine here.

       In choosing to maintain the lex loci approach, the Supreme Court of Virginia

recognized "the uniformity, predictability, and ease of application" as grounds for its

continued use. McMillan,253 S.E.2d at 664. As this case demonstrates, however,

determining the place ofthe wrong can be an elusive undertaking. In an effort to

determine which state's law to apply, the Court will consider the parties' arguments with

respect to(1)the proper application oflex loci,(2)the elements ofthe public disclosure

of private facts tort, and(3)the approach for identifying the place ofthe wrong where the

act of publication marks completion ofthe tort.

       The parties present competing approaches for applying lex loci to identify the

place ofthe wrong. Relying on Milton, the Campaign suggests that the place ofthe

wrong in a lex loci analysis is always the place ofthe wrongful act. (Def.'s Suppl. Resp.

Br. 2.) In Milton, the plaintiff argued that, after termination of his employment in

Maryland, the place ofthe wrong in his action for wrongful discharge was his state of

residence, Virginia. Milton, 138 F.3d at 521-22. Milton reasoned that the effects ofthe

injury were felt in Virginia, thus "making that state the loci delicti, or place ofthe

injury." Id. at 521. The Fourth Circuit rejected Milton's argument, concluding that

"Virginia clearly selects the law ofthe place where the wrongful act occurred, even when

that place differs from the place where the effects ofthe injury are felt." Id. at 522

(emphasis added). In effect, the Campaign therefore argues that the place ofthe wrong is


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where the tortious conduct occurred—^regardless of whether the actual cause of action

had accrued at the time the tortious act was done. (See Def.'s Suppl. Resp. Br. 2.)

       However, contrary to the Campaign's reasoning, the Milton court's use of the term

"wrongful act" carried a precise meaning. Quoting the Supreme Court of Virginia, the

Milton court noted that "'[t]he word 'tort' has a settled meaning in Virginia. A tort is any

civil wrong or injury; a wrongful act.'" Milton, 138 F.3d at 522(quoting Buchanan v.

Doe,431 S.E.2d 289,291 (Va. 1993)). Accordingly, because the wrongful act is the tort

itself, a court must look to the nature ofthe tort in determining the place ofthe wrong. In

Milton, the tort was actionable upon the plaintiffs termination. Depending on the tort,

however,the cause of action may not accrue until sometime after a defendant's act is

complete. See, e.g., Restatement(First) of Conflict of Laws § 377 cmt. a, n.4("When a

person sustains loss by fraud, the place ofthe wrong is where the loss is sustained, not

where fraudulent representations are made."). Such instances require an analysis tailored

to the tort at hand.


       As Plaintiffs point out, the Fourth Circuit adopted such an analysis in Quillen. In

Quillen, the plaintiff purchased a product in Tennessee and later became ill from use of

that product at her home in Virginia. 789 F.2d at 1042^3. The plaintiff argued that the

district court erred in that case by applying Virginia law to her strict liability claim rather

than Tennessee law, given that she had purchased the product in Tennessee and was later

hospitalized there after falling ill in Virginia. Id. at 1044. In addressing the plaintiffs

argument, the Fourth Circuit explained that "[t]he place ofthe wrong for purposes ofthe

lex loci delicti rule ... is defined as the place where 'the last event necessary to make an

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act liable for an alleged tort takes place.'" Id. (quoting Miller, 436 F. Supp. at 462). The

court in Quillen looked to the point of completion ofthe tort—based on its elements—^to

determine the place ofthe wrong. Id. Because the plaintiffs cause of action did not

accrue until she became ill in Virginia, the Quillen court found that Virginia, not

Tennessee, was the place ofthe wrong. Id.

       Accordingly, this Court finds that, reading the Fourth Circuit's guidance in Milton

and Quillen together, a proper application oflex loci requires a tort-by-tort analysis of

when a tort is alleged to have been completed to determine the place ofthe wrong.

Applying this rule, the Court now turns to an analysis ofthe specific tort alleged in

Counts II-IV—^public disclosure of private facts.

       In order to determine when the wrongful act in a claim for public disclosure of

private facts is complete, the Court must determine the tort's elements, an issue on which

the parties are unable to reach a consensus. Unfortunately, the Court draws guidance

from a finite well of authority.

       Plaintiffs contend that the substantive law of each Plaintiffs home state—

Maryland, New Jersey, and Tennessee—^govern their respective claims. (Pis.' Mem.

Opp'n Mot. Dismiss 9-10.) Each claim was pleaded in the Amended Complaint under

the express presumption that the designated states' law would apply. (Am. Compl.

60-71.) The crux ofPlaintiffs' argument is that these states represent the place ofthe
wrong because the private disclosure ofpublic facts tort was completed when the

Plaintiffs were injured in their home states. (Pis.' Suppl. Br. 4-6,ECF No. 86.) As
articulated by Plaintiffs, the analysis "necessarily turns on the elements ofthe specific

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tort at issue." {Id. at 1.) Consequently, the tort's elements control the determination of

the last event necessary for the Defendant to be liable, which they contend was each

Plaintiffs injury. {Id. at 4-6.) This argument, however, depends on whether actual

injury to the plaintiff is a necessary element ofthe alleged tort itself, as opposed to an

element of damage.

       Public disclosure of private facts is a sparsely litigated invasion of privacy tort.

The Restatement(Second)of Torts provides that:

              One who gives publicity to a matter concerning the private
              life of another is subject to liability to the other for invasion
              of his privacy, if the matter publicized is of a kind that
              (a) would be highly offensive to a reasonable person, and
              (b)is not of legitimate concern to the public.

Restatement(Second) of Torts § 652D. According to the Restatement's articulation, the

tort requires publicity and satisfaction of several criteria with respect to the content ofthe

published information.

       Although not recognized in every jurisdiction, this cause of action has been

acknowledged by courts in Maryland, New Jersey, and Tennessee. However, in the few

instances in which the tort has been litigated in those states, the state courts' articulation

ofthe elements tracks closely with that ofthe Restatement. See^           Lindenmuth v.

McCreer, 165 A.3d 544, 556(Md. App. 2017)("Under Maryland law, this invasion of

privacy tort is cognizable where one 'gives publicity to a matter concerning the private
life of another' and 'the matter publicized is ofa kind which (a) would be highly
offensive to a reasonable person, and(b)is not oflegitimate concern to the public.'"
(quoting Furman v. Sheppard,744 A.2d 583, 588(Md. App. 2000))); Romaine v.

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Kallinger, 537 A.2d 284, 292(NJ. 1988)("The invasion of privacy by unreasonable

publication of private facts occurs when it is shown that 'the matters revealed were

actually private, that dissemination ofsuch facts would be offensive to a reasonable

person, and that there is no legitimate interest ofthe public in being apprised ofthe facts

publicized.'"(quoting Bisbee v. John C. Conover Agency, 452 A.2d 689,691 (N.J. Super.

1982); Restatement(Second)of Torts § 652D)); Harris v. Horton, 341 S.W.3d 264,272

(Tenn. Ct. App. 2009)(quoting Restatement(Second) of Torts § 652D). Importantly, this

Court has not found, nor have the Plaintiffs identified, a single instance in which courts

from these states have found injury to a plaintiff to be a prerequisite element ofthe tort.

       Plaintiffs draw the Court's attention to Brown v. American Broadcasting Co., 704

F.2d 1296, 1302-03(4th Cir. 1983), to support the proposition that injury is an element

ofthe common-law tort of public disclosure of private facts. (Pis.' Suppl. Br. 4.)

However,the Fourth Circuit, applying Virginia law, never reached the issue in that case.

Brown,704 F.2d at 1302-03. The Fourth Circuit noted only theoretically that"a strong

argument can be made" that injury is a necessary element before actually holding that

Virginia does not recognize the cause of action. Id. at 1302. In the jurisdictions whose

law Plaintiffs seek to apply, they cite only to a modeljury instruction from New Jersey

that includes an injury element with no cited underlying authority. (Pis.' Suppl. Reply

Br. 6, ECF No. 96.) Notably, according to the Restatement(Second) of Torts § 652H

cmt. c,"[wjhether in the absence of proof of actual harm an action [based upon § 652D]

might be maintained for nominal damages remains uncertain."



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        Since relevant tortjurisprudence is scant and inconclusive, this Court will adopt

for the sake of analysis the elements ofthe common-law tort of public disclosure of

private facts recognized in Maryland, New Jersey, and Tennessee, as Plaintiffs urge.

Accordingly, this Court finds that no actual injury is required, and that the wrongful act

of public disclosure of private facts was complete upon publishing Plaintiffs' personal
information.


       However,the Court's lex loci analysis still yields a subsidiary but critical issue—

how to identify the place ofthe wrong, here, the point of publication, which completes
the pivotal act of public disclosure. The parties equate the necessary analysis to an

analogous publication-based tort, defamation. This Court notes, as it previously has, that
it remains "far from clear" how the Supreme Court of Virginia would apply lex loci in

"situations where [] defamatory content is 'published' in multiple jurisdictions, such as
on a national television broadcast or... a website that can be accessed worldwide."

Kylin Network (Beijing) Movie & Culture Media Co. Ltd. v. Fidlow,2017 WL 2385343,

at *3 n.2(E.D. Va. June 1, 2017)(Hudson, J.).

       Plaintiffs argue that even ifthe Court determines that publication marks the
culmination ofthe tort, the place ofthe wrong is nonetheless the Plaintiffs' home states.

(Pis.' Suppl. Br. 6.) Plaintiffs urge the Court to adopt an analysis in which "the legal
injury [upon publication] is the location where the information was communicated to the

public and caused reputational harm." (Id.) Plaintiffs maintain that rather than focusing
on the location ofreputational impact, as they argue would be the case with defamation,
the Court should focus on the personal nature ofthe public disclosure of private facts;

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that is, the indignation experienced by Plaintiffs following publication. {Id. at 7-8.)

According to Plaintiffs, focusing on the personal nature ofthe injury would enable the

Court to avoid this convoluted jurisdictional issue where reputational impact can occur in

many places depending on where it is accessed. {Id. at 8.) The issue would then turn on

where the effects ofthe injury are felt as opposed to where the wrong occurred. The

Supreme Court of Virginia has explicitly rejected this reasoning. See Jones v. R.S. Jones

& Assocs., Inc., 431 S.E.2d 33, 34(Va. 1993)(reiterating the rejection of the "most

significant relationship" test recommended by the Restatement(Second)of Conflict of

Laws §§ 145, 146);see also Milton, 138 F.3d at 522(finding that an approach based on

where the injury is felt would "effectively replace Virginia's traditional rule for tort cases

with default application ofthe law of plaintiffs domicile.").

       In contrast, the Campaign reasons that the place ofthe wrong is the location from

which the information was published. (Def.'s Suppl. Resp. Br. 3.) To support this

theory, the Campaign highlights decisions where federal district courts in Virginia have

found the proper choice oflaw was the location of publication to the Internet. See, e.g.,
ABL V Bank v. Ctr.for Advanced Def. Studies Inc., No. 1:14-CV-1118,2015 WL

12517012, at *1 (E.D. Va. April 21,2015)(applying Washington, D.C. law where an

allegedly libelous report was published from the defendant's Washington, D.C. office);

Wiestv. E-Fense, Inc., 356 F.Supp.2d 604,608(E.D. Va. 2005)(applying the law of

Virginia where the defendant published allegedly defamatory statements on its website

because the corporate headquarters from which the website was controlled was located in



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Virginia). The Court agrees that the publication analysis in the cases cited by the

Campaign most closely aligns with the weight of Supreme Court of Virginia authority.

       In the context of a defamation claim, the Supreme Court of Virginia has found that

"[pjublication sufficient to sustain common-law defamation is uttering the slanderous

words to some third party so as to be heard and understood by such person." Thalhimer

Bros. V. Shaw, 159 S.E. 87,90(Va. 1931). The Supreme Court of Virginia has further

noted that "'[t]he mere depositing of a letter containing such matter in the post office

would be a publication of it, although it never came to the hands of him for whom it was

intended, if it came to those of anyone else        Davis v. Heflin, 107 S.E. 673(Va.

1921)(quoting 18 Am.& Eng. Enc. 1015 (2d ed. 1896)). Defamation and public

disclosure of private facts are admittedly not identical claims, with the most obvious

distinction being that the information published in the latter offense is true. Nonetheless,

both have the common element of publication. Information published to the Internet is

communicated in a form that is accessible by third parties worldwide. Based on this

Court's analysis of closely related jurisprudence, it is ofthe opinion that the Supreme

Court of Virginia would find that the place ofthe wrong in these claims for public

disclosure of private facts is the place where the act ofpublication to the Internet

occurred.


      Predicated on this conclusion, the Campaign contends that this renders New York

the place ofthe wrong because the Campaign's headquarters is located there. (Def.'s Br.

Supp. Mot. Dismiss 12.) However,Plaintiffs did not allege that the Campaign physically
published their information, but rather that they conspired to do so. While the conspiracy

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was allegedly formed in New York,the underlying tort, the publication, was allegedly

done at some later time by a third party, WikiLeaks. Accordingly, it would be

inappropriate to designate New York as the place ofthe wrong.

       According to the Amended Complaint, Plaintiffs' "private information was

published to the entire world during the 2016 presidential campaign" as a result of an

alleged conspiracy between the Campaign and Russian agents to "to harm the DNC and

Mr. Trump's opponent, Hillary Clinton, and help the Trump Campaign." (Am. Compl.

   1-2.) Upon formation ofthe agreement, the Campaign and Russian agents allegedly

directed WikiLeaks to publish the information online. {Id. ^ 2.) While the Amended

Complaint reveals that Wikileaks published the information to the Internet, it does not

disclose the location from which the information was posted. Agents of WikiLeaks could

have posted the DNC's information from countless locations around the world.

Therefore, the Court cannot determine where the act of publication occurred based on the

Amended Complaint. As a result, the Court will apply the law ofthe forum state,

Virginia.'^


  Defendant also argues that New York is the place of the wrong because the conspiracy was
allegedly formed there. (Def.'s Br. Supp. Mot. Dismiss 12.) This argument fails, however,
because conspiracy is not alleged as a stand-alone tort. The tort, or wrongful act, at issue in
Counts II—IV is the public disclosure of private facts. A civil conspiracy is predicated upon
completion of an underlying civil wrong. See, e.g., Dunlap v. Cottman Transmission Sys., LLC,
754 S.E.2d 313, 317(Va. 2014)("[A]ctions for common law civil conspiracy and statutory
business conspiracy lie only if a plaintiff sustains damages as a result of an act that is itself
wrongful or tortious."). Thus,the location ofthe alleged agreement, in and of itself, does not
represent the wrongful act and therefore does not identify the place ofthe wrong.

  Although neither the Supreme Court of Virginia nor the Fourth Circuit have resolved this
point, numerous district courts in Virginia have applied the law ofthe forum state in a situation
in which they were unable to determine the place ofthe wrong from the pleadings. See Jeffrey J.
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        As the Court has already noted, the Fourth Circuit considered whether Virginia

recognizes a common-law right to privacy in Brown. 704 F.2d at 1302. As a result of a

limited Virginia statutory right to privacy and the Supreme Court of Virginia's silence as

to whether a broader common-law right exists, the Brown court declined to find that

Virginia recognizes such a right. Id. The Supreme Court of Virginia later acknowledged

its agreement. See WJLA-TVv. Levin, 564 S.E.2d 383, 394 n.5 (Va. 2002)(noting that

public disclosure of private facts is not actionable in Virginia because the General

Assembly implicitly excluded that cause of action from its statutory right to privacy).

Therefore, this Court also finds that Virginia does not recognize a common-law right to

privacy. Because no such cause of action exists in Virginia, the Court will dismiss

Plaintiffs' claims for public disclosure of private facts without prejudice.

        2. Intentional Infliction of Emotional Distress(Count V)

       Finally, Plaintiff Comer alleges that Defendant conspired to commit intentional

infliction of emotional distress ("IIED"), or in the alternative aided and abetted other

alleged tortfeasors to that end. (Am. Compl.^295-303.) Applying Virginia's lex loci

analysis, the Court will first look to the elements ofIIED to determine the place ofthe

wrong. A cause of action for IIED exists where "1)the wrongdoer's conduct was

intentional or reckless; 2)the conduct was outrageous or intolerable; 3)there was a causal


Nelson & Assocs. v. LePore,2012 WL 2673242, at *7(E.D. Va. July 5, 2012)("Because it is
presently unclear where the allegedly wrongful acts took place, the Court will... apply Virginia
law with respect to the tort related counterclaims."); see also Overstock com, Inc. v. Visocky,
2018 WL 5075511, at *9 n.5 (E.D. Va. Aug. 23, 2018)("Plaintiff has failed to provide any
specific information as to where the wrongful acts ...took place. Therefore, because Plaintiff
has provided no information upon which to conduct a formal choice-of-law analysis, the [court]
will utilize Virginia law, as the law ofthe forum state.").
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connection between the wrongdoer's conduct and the resulting emotional distress; and 4)

the resulting emotional distress was severe." Supervalu, Inc. v. Johnson,666 S.E.2d 335,

343(Va. 2008). Based on these elements, the tort ofIIED is complete when a plaintiff

experiences severe emotional distress. As alleged by Plaintiffs, this occurred in Plaintiff

Comer's home state, Maryland. (Pis.' Mem. Opp'n Mot. Dismiss 10.) Thus,the Court

will apply Maryland substantive law to Plaintiff Comer's IIED claim.

       Importantly, under Maryland law, conduct sufficient to sustain a claim for IIED

must be "extreme and outrageous.'"^ Harris v. Jones, 380 A.2d 611,614(Md. 1977).

Moreover,"[i]t is for the court to determine, in the first instance, whether the defendant's

conduct may reasonably be regarded as extreme and outrageous             " /(i. at 615. The

defendant's conduct must be "so extreme in degree, as to go beyond all possible bounds

of decency, and to be regarded as atrocious, and utterly intolerable in a civilized

community." Id. at 614. The Court of Appeals of Maryland has made clear that

"'recovery [for IIED] will be meted out sparingly, its balm reserved for those wounds

that are truly severe and incapable of healing themselves.'" Batson v. Shiflett, 602 A.2d

1191, 1216(Md. 1992)(quoting Figueiredo-Torres v. Nickel, 584 A.2d 69, 75(Md.

1991)).

       Plaintiff Comer's claim falls short ofthe mark. The alleged conduct—

dissemination ofPlaintiff Comer's emails involving workplace gossip and details


  The elements for IIED in Maryland are identical to those in Virginia, except that Maryland law
articulates the second element as requiring "extreme and outrageous" conduct, Harris, 380 A.2d
at 614, as opposed to "outrageous or intolerable" conduct under Virginia law,Supervalu,666
S.E.2d at 343.

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regarding a bout ofstomach flu—is not"extreme and outrageous" under any standard of

measure. Plaintiff Comer undoubtedly experienced a great deal of stress following

publication of his private communications with colleagues; however,the high standard

for IIED claims is intended to "screen out claims amounting to 'mere insults, indignities,

threats, annoyances, petty oppressions, or other trivialities' that simply must be endured

as part of life." Batson,602 A.2d at 1216(quoting Harris, 380 A.2d at 614). When

weighed against claims for extreme and outrageous conduct upheld by the Court of

Appeals of Maryland,'^ the conduct alleged by Plaintiff Comer fails to pass muster.

Consequently, Plaintiff Comer's claim for IIED is also dismissed without prejudice.

                                  IV.     CONCLUSION


       Based on the foregoing analysis, the Campaign's Motion to Dismiss filed pursuant

to Federal Rule of Civil Procedure 12(b)(6) will be granted. Count I will be dismissed

with prejudice because it is beyond revitalization, given the absence ofthe requisite state

action. Counts II through V will be dismissed without prejudice, and pursuant to

counsel's oral motion. Count VI will be dismissed without prejudice. Finally, while this

Court finds Plaintiffs' Amended Complaint fails to plead plausible and legally viable




  In Batson, the Court of Appeals of Maryland cited several ofthe rare instances in which claims
for IIED have been upheld. Batson,602 A.2d at 1216. These cases involved situations in which
a "psychologist had sexual relations with the plaintiffs wife during the time when he was
treating the couple as their marriage counselor," a "physician did not tell nurse with whom he
had sexual intercourse that he had herpes," and a "worker's compensation insurer's 'sole
purpose' in insisting that claimant submit to psychiatric examination was to harass her and force
her to abandon her claim or to commit suicide." Id. (citing Figueiredo-Torres v. Nickel, 584
A.2d 69(Md. 1991); B.N. v. K.K., 538 A.2d 1175(Md. 1988); Young v. Hartford Accident &
Indemnity,492 A.2d 1270(Md. 1985)).

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claims as crafted, it offers no assessment of the veracity ofthe factual assertions

underlying Plaintiffs' claims.

       An appropriate Order will accompany this Memorandum Opinion.




                                                  Henry E. Hudson
                                                  Senior United States District Judge

Date:ORirck >5^ gd/9
Richmond, Virginia




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